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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

  In re:
                                                   Bankruptcy Case No. 22-12455 TBM
  CHRISTOPHER PATRICK BOYD,                        Chapter 13
  Debtor,


  HEMP RECOVERY COMPANY, LLC,                      Adversary Case No. 22-1258 TBM
  Plaintiff,

  v.

  CHRISTOPHER PATRICK BOYD,
  Defendant,


  CHRISTOPHER PATRICK BOYD,
  Appellant,                                       U.S. District Court
                                                   Case No. 23-cv-1888 REB
  v.

  HEMP RECOVERY COMPANY, LLC,
  Appellee.

                      SECOND NOTICE REGARDING RECORD ON APPEAL

      A Notice of Appeal and Statement of Election was filed July 24, 2023, by attorney
Stephen E. Berken on behalf of Christopher Patrick Boyd, and assigned District Court case
number 23-cv-1888 REB. Pursuant to F.R.B.P. 8009 and 8010, please note the following:

       ☒ A notice regarding the parties' failure to designate a record was issued on September
26, 2023.

           ☒ The parties subsequently designated a Record on Appeal. Attached please find:

                  Volume I - Docket sheet and designated pleadings from bankruptcy case 22-
                  12455 TB and adversary case 22-1258 TBM.

       A copy of this notice and the Record on Appeal has been transmitted
electronically to US District Court.

DATED: October 2, 2023                                      Kenneth S. Gardner, Clerk of Court
                                                            By: M. Reynolds, 720-904-7450
